Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 1 of 21. PageID #: 1414


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                       :
UNITED STATES OF AMERICA,                              :         CASE NO. 1:03-CR-431-2
                                                       :                  1:07-CV-871
                  Plaintiff,                           :
                                                       :
vs.                                                    :         ORDER & OPINION
                                                       :         [Resolving Doc. No. 283, 289, 292, 293]
STANLEY CORNELL,                                       :
                                                       :
                  Defendant.                           :
                                                       :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         On March 23, 2007, Defendant Stanley Cornell filed a motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255. [Doc. 283.] With his motion, Cornell seeks to vacate,

set aside, or correct the sentence imposed by the United States District Court for the Northern

District of Ohio following Cornell’s conviction at a jury trial of conspiracy to possess with intent to

distribute cocaine, possession with intent to distribute and distribution of cocaine, and use of a

telephone to distribute cocaine. [See Doc. 315 at 1.] Defendant Cornell has also filed a motion for

leave to supplement his § 2255 motion [Doc. 289]; a motion to compel discovery related to the

proposed supplement [Doc. 292]; and a motion for the recusal of the Assistant United States

Attorney on the case [Doc. 293].

         The Government has responded to Cornell’s original § 2255 motion, [Doc. 287]; his motion

to supplement [Doc. 290]; his motion to compel discovery [Doc. 296]; and his motion for recusal

[Doc. 296]. Defendant Cornell replied to all of the above. [Docs. 288, 291, 301, respectively.] This

Court referred the case to Magistrate Judge William H. Baughman, Jr., under Local Rule 72.1.

[Docs. 284, 285.]         On March 17, 2009, Magistrate Judge Baughman filed a Report and


                                                           -1-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 2 of 21. PageID #: 1415


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

Recommendation. [Doc. 330.] With that Report and Recommendation, the Magistrate Judge

recommends that this Court dismiss in part and deny in part Cornell’s motions. Cornell objected to

the Magistrate Judge’s findings. [Doc. 331.]1/ For the reasons provided below, the Court ADOPTS

the Magistrate’s Report and Recommendation, and DENIES Defendant Cornell’s § 2255 motion

[Doc. 283]; DENIES Cornell’s motion to supplement the § 2255 motion [Doc. 289]; DENIES

Cornell’s motion for the recusal of the AUSA, [Doc. 293]; and DISMISSES IN PART as moot and

DENIES IN PART Cornell’s motion to compel discovery. [Doc. 292.]

                                                  I. Background

         On November 19, 2003, a grand jury returned a 13-count indictment against Defendant

Cornell and eight other defendants. The grand jury indicted Cornell on the following three counts:

(1) conspiracy to possess with the intent to distribute more than 50 grams of cocaine base and/or

more than 5 kilograms of cocaine powder in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and

846; (2) possession with intent to distribute and distribution of approximately 154 grams of cocaine

in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C); and (3) use of a telephone to facilitate drug

trafficking in violation of 21 U.S.C. § 843(b). [Doc. 1.]

         On February 25, 2004, Defendant Cornell and co-defendant Norman Pomales’ jury trial

commenced in this Court. [Doc. 153.] At trial, Drug Enforcement Agency Special Agents Lee Lucas

and John Clayton gave testimony for the government. Special Agent Clayton and Darrel Pinson, an

informant, described the controlled buy they set with Cornell and resulted with the police seizing the

154 grams of cocaine charged in count two of the indictment. Jason Hager, Randall Allman, Paul

         1/
           Cornell filed his objection on April 6, 2009, a week after the March 31, 2009 deadline for filing. Although
Cornell claims he filed a “Motion for Enlargement of Time to File Objections” on M arch 24, 2009, [Doc. 331 at 1 n.1],
no such filing was ever docketed. Nonetheless, the Court considers Cornell’s objections and conducts de novo review.

                                                         -2-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 3 of 21. PageID #: 1416


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

Sinatra, Rick Sanders and Lance Hartman, five persons named in the indictment as co-conspirators

but not defendants, also gave testimony regarding the conspiracy count. Furthermore, Benny Ingram,

Jason Lilly, Dwayne Washington and Michael Richardson also testified about the conspiracy charge.

Defendant Cornell called no witnesses. On February 27, 2004, a jury returned a verdict of guilty on

all counts against Cornell. [Doc. 156.]

       Before trial, the United States filed an information pursuant to 21 U.S.C. § 851, invoking the

enhanced sentencing provisions in 21 U.S.C. §§ 841(b)(1)(A) and 841(b)(1)(C). Before this case,

Cornell had at least two prior felony drug offense convictions, including convictions for distribution

of cocaine in the United States District Court and conviction for trafficking in drugs in the Cuyahoga

County Common Pleas Court. On May 13, 2004, the Court sentenced the Defendant to the

mandatory minimum, life without parole, on count one, 360 months of incarceration on count two,

and 48 months of incarceration on count three, to run concurrently. [Doc. 217.]

       On May 14, 2004, Defendant Cornell filed a timely notice of appeal to the Sixth Circuit

Court of Appeals. [Doc. 218.]      On January 3, 2006, the Court of Appeals affirmed Cornell’s

conviction and sentence. [Doc. 266.] On April 3, 2006, Cornell petitioned for a writ of certiorari to

the United States Supreme Court. [Doc. 276.] The Supreme Court denied the petition on October

2, 2006. [Doc. 281.]

       On March, 18, 2008, the Defendant filed a motion for a judgment of acquittal or a new trial

[Doc. 300], which he later amended [Doc. 304]. In the motion, Cornell alleged the following claims:

(1) the conduct of Special Agent Lucas warrants a new trial; (2) the United States failed to establish

the proper foundation, and/or a proper chain of custody, for the admittance of the 154 grams of

cocaine; (3) the United States presented perjured and misleading testimony to sustain counts two and

                                                 -3-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 4 of 21. PageID #: 1417


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

three; (4) the court impermissibly instructed the jury; (5) based upon prosecutorial misconduct a new

trial must be granted; and (6) counsel provided ineffective assistance of counsel. [Id.]

        On July 25, 2008, the Court denied the Defendant’s motion for a judgment of acquittal or a

new trial. [Doc. 315.] The Court rejected the claim for a new trial based on the involvement of DEA

Agent Lucas, because the new evidence would not likely lead to an acquittal, given Lucas’ limited

testimony and the extensive testimony of many others against Cornell. [Id. at 9.] Further, the Court

declined to address the Defendant’s prosecutorial misconduct claim, deeming it properly evaluated

in the § 2255 forum. [Id.] Finally, the Court held that the Defendant’s remaining claims regarding

ineffective assistance of counsel, chain of custody, and jury instructions were time-barred under

Rules 29 and 33 and did not warrant a Rule 45 time extension. [Id. at 10.] Cornell moved for

reconsideration, but that, too, was denied. [Doc. 319.]

                                           II. The Instant Motions

        In support of the instant § 2255 motion, Cornell raises three grounds, all related to alleged

discrepancies between the grand jury testimony of DEA Agent Clayton and the Agent’s previous

Investigation Report.2/ The grounds are that 1) “the government denied movant his right to due

process and fundamental fairness when it used false testimony to convict him;” 2) “trial counsel was

ineffective for failing to investigate [any discrepancies];” and 3) “trial counsel was ineffective for

failing to impeach Agent Clayton on his prior . . . inconsistent statement.” [Doc. 283 at 4.] The

United States opposed Cornell’s motion, [Doc. 287], and the Defendant replied to that opposition,

[Doc. 288].



        2/
          As discussed below, the discrepancy at issue is actually between Agent Clayton’s trial testimony and his
previous Investigation Report. See infra note 4.

                                                       -4-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 5 of 21. PageID #: 1418


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

        In his motion for leave to file a supplemental motion, Defendant Cornell seeks to add a fourth

claim for relief to the original § 2255 motion. Cornell alleges that DEA agent Lee Lucas committed

perjury during Cornell’s trial, as a result of prosecutorial misconduct, thereby “render[ing] the entire

trial fundamentally unfair.” [Doc. 289 at 2.] In his motion to compel discovery, Cornell seeks all

records relating to DEA Agents Clayton and Lucas. [Doc. 292.] Finally, in his motion for the recusal

of the AUSA on the case, Cornell argues that the Government’s attorney should be recused for

knowingly proffering testimony that varied from Agent Clayton’s previous report. [Doc. 293.] The

United States opposed all these motions, [Docs. 290, 296], and Defendant Cornell replied, [Docs.

291, 301].

        On March 17, 2009, Magistrate Judge William H. Baughman, Jr., filed a Report and

Recommendation that recommended the Court dismiss, as procedurally defaulted, Defendant

Cornell’s first ground for relief in his § 2255 motion. [Doc. 330.] The Magistrate Judge found that

Cornell failed to raise the issue on direct appeal despite being aware of the issue, and that failure

cannot be attributed to ineffective assistance of counsel. [Id. at 24-25.] Further, the Magistrate Judge

recommended the Court deny the Defendant’s second and third grounds for relief in the § 2255

motion. [Doc. 330.]      The Magistrate Judge found that Cornell had not met his burden of

demonstrating that his counsel was ineffective under the Strickland v. Washington standard because

he had made no showing of either deficient performance or prejudice. [Id. at 26-27.]

        With respect to the motion to supplement the § 2255 motion, Magistrate Judge Baughman

found the motion was actually a motion to amend the existing § 2255 motion to include a new claim.

The Magistrate Judge recommended the motion to supplement be denied because the claim would

be insufficient to set aside Cornell’s conviction, given the other testimony against him. [Id. at 20-21.]

                                                  -5-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 6 of 21. PageID #: 1419


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

The Magistrate Judge also noted that the motion to compel discovery related to Agent Lucas is moot

if the motion to supplement is denied. Regardless, the motion to compel discovery should be denied

because the Government has already provided Cornell with most of what he seeks and is under no

obligation to provide more. [Id. at 22-23.] Finally, Magistrate Judge Baughman recommended that

the Court deny Cornell’s motion seeking recusal of the AUSA because the Government did not

conceal any of the alleged inconsistencies. [Id. at 17-19.]

        Defendant Cornell objects to all of the Magistrate Judge’s findings, and states that the

Magistrate Judge conflated his various grounds for relief.3/ [Doc. 331.] Generally, he disputes the

Magistrate Judge’s conclusion that the discrepancies between Agent Clayton’s testimony and his

previous report amount merely to inconsistencies. [Id. at 9-10.] Based on this general error in

construing the significance of Clayton’s testimony, Cornell urges the Court to consider the issue de

novo.

        With respect to his first ground for relief in his § 2255 motion, Cornell argues that the claim

should not be dismissed as procedurally defaulted because the Magistrate Judge did not properly

consider his ineffective assistance of counsel argument as “cause” for the default. [Id. at 7-8.] On

the second and third grounds for relief, both based on ineffective assistance of counsel, Cornell

points out that he was alleging ineffectiveness not just because his counsel failed to discredit Agent

Clayton’s testimony, but because his counsel failed to object to the Government’s untimely




        3/
          W hile Cornell asserts that the Magistrate Judge’s Report and Recommendation is “layed-out in a rather
confusing format and conflates some of [his] grounds for relief,” [Doc. 331 at 11], the Court notes that Cornell’s
objections are confusing in terms of organization. Here, the Court attempts to match Cornell’s objections to the
Magistrate Judge’s findings, and also consider more general objections.

                                                       -6-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 7 of 21. PageID #: 1420


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

disclosure of Clayton’s previous Investigation Report4/ and failed to request a continuance to

investigate the new information. [Id. at 10.] Cornell argues that these failures amounted to deficient

performance and could not be explained as strategic. [Id. at 10-11.]

         With respect to his motion to amend his § 2255 motion with an additional ground related to

Agent Lucas, Cornell argues that although the Court deemed those claims “speculative” in past

decisions, Cornell “should now be able to use the fact development procedures applicable to § 2255

proceedings to prove his allegations related to Agent Lucas.” [Id. at 4.] Further, even if Lucas’

testimony would have had limited impact on the outcome of Cornell’s trial, the Defendant urges the

Court not to “compartmentalize” Agent Lucas’ and Agent Clayton’s alleged misconduct, but rather

consider the combined effect of both, and apply the liberal standard for allowing amendments under

Rule 15(a). [Id. at 4-5.] Additionally, Cornell reiterates his arguments for additional discovery,

objecting to the standard used by the Magistrate Judge, and arguing that he should be allowed to

access information to substantiate his § 2255 allegations. [Id. at 3, 6.] Although he does not directly

object to the Magistrate Judge’s conclusion on the motion for recusal of the AUSA, Cornell again

argues that the AUSA knowingly presented false testimony, failed to correct the testimony, and did

not disclose Clayton’s previous report until it was too late. [Id. at 8-9.] Finally, Cornell objects to

the denial of an evidentiary hearing because there are allegedly “numerous material factual disputes”

that, if resolved in the Defendant’s favor, would entitle him to relief under § 2255. [Id. at 13-15.]

                                                  III. Legal Standard

A. Federal Magistrates Act



         4/
             The Government provided defense counsel with Brady and Jencks material just before the start of trial. [Doc.
237 at 5.]

                                                           -7-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 8 of 21. PageID #: 1421


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

       The Federal Magistrates Act requires a district court to conduct a de novo review only of

those portions of a Report and Recommendation to which the parties have made an objection. 28

U.S.C. § 636(b)(1). Parties must file any objections to a Report and Recommendation within ten

days of service. Id. Failure to object within that time waives a party’s right to appeal the magistrate

judge’s recommendation. See Fed. R. Civ. P. 72(a); Thomas v. Arn, 474 U.S. 140, 145 (1985);

United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Absent objection, a district court may adopt

the magistrate’s report without review. Thomas, 474 U.S. at 149.

B. Section 2255

       Section 2255 gives a federal prisoner post-conviction means of collaterally attacking a

conviction or sentence that he alleges to be in violation of federal law. See In re Gregory, 181 F.3d

713, 714 (6th Cir. 1999). Section 2255 provides four grounds for a challenge to a conviction or

sentence: (1) that the sentence was imposed in violation of the Constitution or laws of the United

States; (2) that the court was without jurisdiction to impose such sentence; (3) that the sentence

exceeded the maximum authorized by law; or (4) that the sentence is otherwise subject to collateral

attack. Hill v. United States, 368 U.S. 424, 426-27 (1962); 28 U.S.C. § 2255.

       To prevail on a § 2255 motion alleging a constitutional error, the movant “must establish an

error of constitutional magnitude which had a substantial and injurious effect or influence on the

proceedings.” Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v.

Abrahamson, 507 U.S. 619, 637-38 (1993)). To prevail on a § 2255 motion alleging a non-

constitutional error, the movant must establish a “‘fundamental defect which inherently results in

a complete miscarriage of justice, or, an error so egregious that it amounts to a violation of due

process.’” Id. ((citing United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (citing Hill, 368

                                                 -8-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 9 of 21. PageID #: 1422


Case No. 1:03-CR-431-2; 1:07-CV-871
Gwin, J.

U.S. at 428)).

         The Court can summarily deny a motion to vacate if it plainly appears from the face of the

motion and any annexed exhibits that the movant is not entitled to relief. Smith v. United States, 348

F.3d 545, 550 (6th Cir. 2003). Otherwise, the Court must hold an evidentiary hearing to determine

the truth of movant’s claims. Valentine v. United States, 488 F.3d 325, 333 (6th Cir.2007). A § 2255

petitioner’s “burden ‘for establishing an entitlement to an evidentiary hearing is relatively light.’”

Smith, 348 F.3d at 550. Nevertheless, the Court need not hold a hearing if the movant’s allegations

cannot be accepted as true because they are contradicted by the record, are inherently incredible, or

are conclusions rather than statements of fact. Valentine, 488 F.3d at 333.

                                                    IV. Analysis

A. General Objection - Characterization of Discrepancies

         Although not directed specifically towards any of the Magistrate Judge’s conclusions, Cornell

generally objects to the Magistrate Judge’s characterization of the issues related to Agent Clayton’s

Investigation Report. Cornell objects to the description of the conflict between the report and trial

testimony, and so requests the Court to consider the issue de novo.

         With respect to the potential discrepancies, the Magistrate Judge refers to “mere

inconsistencies” between Agent Clayton’s Investigation Report and his testimony. Cornell, in

contrast, characterizes the two versions as “diametrically opposed” and argues that the use of the

latter version by the Government rises to the level of a due process violation. [Doc. 283 at 5.]5/


         5/
           In his initial § 2255 petition, Cornell seems to be referring to discrepancies between Agent Clayton’s
Investigation Report of September 25, 2001 [sic], and his grand jury testimony of November 18, 2003. [Doc. 283 at 5.]
In his reply regarding the § 2255 motion, he then seems to mix up references to Agent Clayton’s grand jury testimony
and his testimony at trial. [Doc. 288 at 2 (“The Government, in this case, secured M ovant’s convictions by allowing one
                                                                                                           (continued...)

                                                          -9-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 10 of 21. PageID #: 1423


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 Referring to these potential discrepancies, this Court in an earlier order stated that “Clayton’s

 testimony was inconsistent with his report of investigation . . . .” [Doc. 262 at 3.] Although Cornell

 relies on this Court’s previously-expressed sympathy, [Doc. 331 at 6-7 (citing Doc. 262 at 7)], the

 Court here considers the issue anew, as the § 2255 petition provides the appropriate forum.

          In his Investigation Report, dated September 24, 2001, Agent Clayton described the August

 13, 2001 drug transaction as follows:

          1. On 8/13/2001 [CS] received 154.06 grams of cocaine from Stanley CORNELL.
          CORNELL contacted the CS and informed the CS that CORNEL [sic] was going to
          advance the CS the cocaine. The CS contacted S/a [sic] Clayton and informed S/A
          Clayton that CORNELL was en route to meet the CS. S/A Clayton attempted to
          reach the meet location prior to CORNELL’s arrival. While en route S/A Clayton
          was contacted by the CS and informed that CORNELL had arrived and had advanced
          the cocaine. S/A Clayton was informed that CORNELL had departed the area prior
          to S/A Clayton’s arrival.

          2. S/A Clayton instructed the CS to surrender the cocaine, Exhibit 2, to Det. Marv
          Lemeau. The CS surrendered the exhibit and the exhibit was tested by the Cleveland
          Police Department Special Investigations Unit . . . .

 [Doc. 259-2.] The entire substantive section of the Investigation Report is only two pages, consisting

 of eight paragraphs, and the other six detail the payment arrangements for the cocaine. [Id.]

          At trial, Clayton testified and was cross-examined in much more detail about this transaction.


          5/
              (...continued)
 of its chief witnesses to testify falsely during trial. Special Agent John Clayton of the Drug Enforcement Administration,
 (Agent Clayton), was allowed to fabricate, utter false statements, and knowing/intentionally testify falsely before the
 Grand Jury . . . The government knew he was lying and testifying contrary to what he’d previously stated before the
 Grand Jury. Yet, the government sanctioned and encouraged Agent Clayton to prevaricate by using the false testimony
 in its opening statement . . . See Trial Transcript . . . .”) (emphasis added).] In his objections to the Magistrate Judge’s
 Report and Recommendation, Cornell seems to focus solely on discrepancies between Clayton’s Investigation Report
 and his trial testimony. [See Doc. 331 at 8-10.] No transcript of the grand jury testimony has been made part of the
 record or provided to this Court. However, because the Court understands from Cornell’s filings that the Investigation
 report allegedly conflicts with both Clayton’s grand jury and trial testimony, which were substantively the same, the
 Court will henceforth consider the alleged discrepancy between the Report and the trial testimony. See also Doc. 287
 at 12 (arguing that any possible error in the grand jury proceeding would have been cured by the trial testimony and
 resulting jury verdict, citing United States v. Mechanik, 475 U.S. 66, 69-73 (1986)).

                                                            -10-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 11 of 21. PageID #: 1424


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 Upon learning that his confidential informant had spoken with Defendant Cornell about a drug

 transaction, Clayton claimed, “I went as fast as I could to my confidential source’s residence.” [Doc.

 209 at 481-82.] Clayton continued:

        When I arrived at 118th . . . I didn’t tell my confidential source I was there yet because
        I don’t trust anybody. I pulled up across the street and I saw Mr. Cornell on the
        sidewalk right in front of the driveway of my confidential source’s residence now
        walking towards Kinsman, towards me . . . Mr. Cornell didn’t see me. He walked up
        Kinsman, looked both ways . . . I parked where he couldn’t see me. He walked
        across Kinsman into a bar . . . Mr. Cornell exits the bar, jumps in the car and they
        depart.

 [Doc. 209 at 482-83.] After allegedly seeing Cornell leave the scene, Clayton testified he met with

 his confidential information and obtained the drugs Cornell had allegedly dropped off: “Mr. Pinson

 got to the residence, called me, departed the residence. I followed him . . . we met in Shaker Heights

 . . . Mr. Pinson surrendered to me a brown paper bag that contained approximately 154 grams of

 cocaine.” [Doc. 209 at 484.] On cross-examination, Clayton confirmed that he did not see Cornell

 take the bag with the cocaine into Pinson’s house. [Doc. 209 at 511.] Clayton reiterated that he “saw

 Mr. Cornell departing what looked to be the residence of Mr. Pinson.” [Id. at 516.] He described the

 event again:

        A. I didn’t see [Cornell] in the driveway, I saw him on the sidewalk directly in front
        of the driveway walking toward Kinsman where I was expecting to see him.

        Q. You never saw him coming out of that house, did you?

        A. No, nor did I see him arrive there.

 [Id. at 516.] Throughout his testimony, then, Clayton persisted in the same version of events - that

 he arrived at Pinson’s house to see Cornell standing out front on the sidewalk, after which Cornell

 walked down the street, entered a bar, exited the bar, got into a car as the passenger, and left.



                                                  -11-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 12 of 21. PageID #: 1425


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

        Cornell claims these versions of events by Agent Clayton, in his Investigation Report and his

 testimony, contradict. In making this argument, Cornell repeatedly relies on the fact that the

 Investigation Report said, “CORNELL had departed the area prior to S/A Clayton’s arrival.” [Doc.

 288 at 2-3, 13; Doc. 331 at 9-10.] Cornell also believes Clayton lied about seeing him at the scene

 because Pinson testified at trial that by the time Clayton arrived at Pinson’s house, Cornell was

 already gone. [Doc. 209 at 544.]

        However, all of these statements – the Investigation Report, Clayton’s testimony, and

 Pinson’s testimony – do not necessarily contradict each other. They could all be true. The

 Investigation Report says that while Clayton was en route, he was informed that Cornell had already

 arrived and advanced the cocaine. [Doc. 259-2 at ¶ 1.] This agrees with Clayton’s testimony that he

 did not see Cornell arrive at the house, enter the house, take anything into the house, or exit the

 house. [Doc. 209 at 511, 516.] To the extent that Cornell interprets the Investigation Report as

 saying that Clayton did not even see Cornell at the scene, because Cornell was already gone, he

 mischaracterizes the report. The report does not say that Cornell had already departed when Clayton

 arrived. It says “S/A Clayton was informed that CORNELL had departed the area prior to S/A

 Clayton’s arrival.” (Emphasis added.) This statement harmonizes perfectly with Clayton’s

 testimony: “When I arrived at 118th . . . I didn’t tell my confidential source I was there yet because

 I don’t trust anybody.” If that testimony was true, Pinson would not have known Clayton had arrived

 in time to see Cornell leaving the scene; Pinson’s testimony may have been based on what he thought

 was the truth – that Clayton arrived too late to see Cornell.

        The fact remains that the Investigation Report does not include all the information in

 Clayton’s testimony regarding seeing Cornell at the scene. One would have expected that

                                                 -12-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 13 of 21. PageID #: 1426


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 information to be included in the report. However, the report was merely a summary of events, so

 it is possible the Agent did not include all the details. While the Court agrees that one might infer

 from the report, based on its brevity and what is included (“S/A Clayton was informed that

 CORNELL had departed the area prior to S/A Clayton’s arrival”), that Clayton did not see Cornell

 at the scene, that simply is not what the report says. Thus it is not obvious that the report is even

 inconsistent with the trial testimony, much less that it is blatantly contradictory.

         The other inconsistencies that Cornell notes in his reply regarding his § 2255 petition,

 including to whom and when the cocaine was surrendered to the authorities, and what kind of bag

 the cocaine was in, are inconsistent only as between the testimony of Agent Clayton and Pinson. [See

 Doc. 288 at 13.] In both his report and his testimony, Clayton explained that Pinson surrendered the

 cocaine to Detective Marv Lemeau. [Doc. 259-2 at ¶ 2; Doc. 209 at 484.] The report offers no

 additional details on the surrender, while in his testimony, Clayton explains that he, too, was also

 present at the surrender and that it occurred in Shaker Heights, soon after Cornell left the scene near

 Pinson’s house. [Doc. 209 at 484.] Pinson, however, testified that Clayton did not confiscate the

 drugs Cornell had delivered for a few days. [Doc. 209 at 545.]

         Based on this review of the report and testimony, the Court concludes that there may have

 been inconsistencies between the two, but there were not clear contradictions. Inconsistencies are

 common at criminal trials. Witnesses do not always agree in their descriptions of events, and

 witnesses do not always repeat the same exact description as they provided in previous accounts.

 That is what cross-examination is for, and then credibility determinations are left to the jury. In this

 case, the defense attorney had Clayton’s Investigation Report. Defense counsel could have cross-

 examined Clayton as to whether his previous report contradicted what he said on the stand. Defense

                                                  -13-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 14 of 21. PageID #: 1427


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 counsel did, in fact, cross-examine Clayton on his account of the events, and Clayton persisted in

 his story that he saw Cornell depart the scene. [Doc. 209 at 516.] Had he been cross-examined

 concerning the failure to mention those details in the report, Clayton may have had the opportunity

 to explain those omissions. Nonetheless, the fact that the prosecution also had the report and knew

 of its contents and then put Clayton on the stand to give his testimony does not remotely rise to the

 level of a due process violation. There is no evidence to suggest the prosecutor knowingly proffered

 false testimony because there is no evidence that Clayton’s testimony was false. There is not even

 enough evidence to show it was inconsistent.

 B. Ground One - Due Process Violation

        In his § 2255 petition, Cornell’s first ground for relief alleges that he was denied due process

 because the Government used the false testimony of Agent Clayton to convict Cornell. [Doc. 283

 at 5.] The Magistrate Judge notes, and Cornell concedes, that Cornell failed to raise this issue either

 at trial or on direct appeal. [Doc. 330 at 24; Doc. 331 at 7.] The Magistrate Judge, therefore,

 recommends dismissing the claim as procedurally defaulted. [Doc. 330 at 25-26.] Cornell, in his

 objections, contends his counsel was ineffective and this argued ineffectiveness excuses the

 procedural default. [Doc. 331 at 7-8.] Whether Cornell’s trial counsel was ineffective for failing to

 properly handle the delayed disclosure of Agent Clayton’s report is addressed below, with respect

 to Cornell’s second and third grounds for relief. Here, the Court assumes without deciding that

 Cornell’s due process claim was not procedurally defaulted, and so addresses the claim on the merits.

        The claim fails on the merits because Cornell has made no showing that the Government used

 false testimony to convict him. Clayton’s Investigation Report and his testimony do not even

 necessarily conflict, in which case there would be no false testimony.             Even if there are

                                                  -14-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 15 of 21. PageID #: 1428


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 inconsistencies between the two, however, there is no evidence that Clayton’s testimony itself was

 actually false. “[M]ere inconsistences in testimony by government witness do not establish knowing

 use of false testimony.” United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir. 1989). Therefore,

 even assuming Cornell has not procedurally defaulted his due process claim by failing to raise it at

 trial or on direct appeal, the claim is denied.

 C. Grounds Two & Three - Ineffective Assistance of Counsel

         To prevail on a § 2255 claim that counsel’s assistance was constitutionally ineffective, a

 movant must satisfy a two-pronged test. First, he must show that counsel’s performance was

 deficient by demonstrating that “counsel made errors so serious that he was not functioning as the

 ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland v. Washington, 466 U.S.

 668, 687 (1984). In evaluating this charge, the court must determine whether, “in light of all the

 circumstances, the identified acts or omissions were outside the wide range of professionally

 competent assistance . . . . [, keeping in mind] that counsel’s function, as elaborated in prevailing

 professional norms, is to make the adversarial testing process work in the particular case.” Id. at

 690. Judicial scrutiny of counsel’s performance is highly deferential, however, and there is a strong

 presumption that counsel’s conduct falls within the wide range of reasonable professional assistance.

 See id. at 689.

         Second, the movant must show that counsel’s deficient performance prejudiced the defendant

 by demonstrating that “counsel’s errors were so serious as to deprive the defendant of a fair trial .

 . . .” Id. at 687. The movant meets the second prong of the test by establishing “that there is a

 reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

 would have been different. A reasonable probability is a probability sufficient to undermine

                                                   -15-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 16 of 21. PageID #: 1429


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 confidence in the outcome.” Id. at 694. “If it is easier to dispose of an ineffectiveness claim on the

 ground of lack of sufficient prejudice, that course should be followed.” Id. at 697.

        In his objection to the Report and Recommendation, Cornell alleges that counsel was

 deficient for: “(1) not objecting to the untimely disclosure [(including the Investigation Report);] (2)

 failing to request a continuance to investigate the disclosed information[;] and (3) failing to

 effectively use the information to discredit Agent Clayton’s trial testimony.” [Doc. 331 at 10.] All

 of Cornell’s claims fail due to lack of sufficient prejudice. At most, if counsel had objected to the

 delayed disclosure and requested and been granted a continuance, he might then have more

 aggressively cross-examined Clayton as to his recollection of events. But first, as noted by the

 Magistrate Judge, defense counsel did in fact pursue discrepancies in cross-examination. [Doc. 330

 at 26-27.] And even if defense counsel had confronted Clayton explicitly about the alleged

 contradiction between the report and Clayton’s testimony, Clayton could have easily explained that

 there were in fact no inconsistencies. As discussed above, nothing in Agent Clayton’s report, the

 pertinent part of the delayed disclosure, was necessarily inconsistent with his testimony. Both can

 be harmonized. Finally, as the Magistrate Judge noted, there was ample evidence “quite apart from

 any testimony of either Clayton or Pinson concerning Cornell taking money for drugs,” including

 an audio tape played for the jury. [Doc. 330 at 27.] “As such, regardless of the amount of time the

 defense had to assess it, the evidence likely would have had marginal utility to the defense.” Ayers

 v. Bradshaw, 2007 WL 2840399, at *5 (N.D. Ohio, Sept. 27, 2007). Because the claims of

 ineffective assistance of counsel fail to show sufficient prejudice, the Court need not consider

 whether defense counsel acted deficiently in failing to object to the delayed disclosure or request a

 continuance.

                                                  -16-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 17 of 21. PageID #: 1430


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 D. Supplement/Amend

          The Court also denies Cornell’s motion to supplement his § 2255 petition with allegations

 regarding false testimony by Agent Lee Lucas. Because Cornell’s motion actually seeks to add new

 substantive claims, rather than just augment the existing claims, the Court treats this motion as a

 motion to amend. As such, the Court denies the motion on the grounds that adding the new claim

 would be futile. See Fed. R. Civ. P. 15(a). The Court bases this conclusion on the same reasoning

 found in the Court’s July 25, 2008 order denying the Defendant’s motion for judgment of acquittal

 and new trial. [Doc. 315 at 8-9.] Although the procedural posture differs in the § 2255 forum, the

 Court’s reasoning and conclusion remain the same. Agent Lucas played but a minor role in

 testifying against Defendant Cornell at trial, and there was ample other evidence and testimony to

 convict Cornell. [See Doc. 315 at 8-9.] In particular, at least nine other people testified regarding

 their involvement in the drug trade with Cornell. [Id.] Even if the testimony of Agent Lucas at

 Cornell’s trial was false, that would be insufficient to set aside Cornell’s conviction.6/ In reaching

 this conclusion, however, the Court notes that, in the instant motion, Cornell still “does not point to

 any specific problems with his case [with respect to Lucas’ involvement].” [Id.] Because the Court

 denies the motion to supplement, the Court dismisses the motion to compel discovery as moot to the

 extent it involves discovery on this additional claim and related to Agent Lucas.

 E. Compel Discovery

          Rule 6 of the Rules Governing Section 2255 Proceedings for the United States District Courts


         6/
            Cornell’s argument that he should be allowed to amend because the combined effect of Agent Lucas and Agent
 Clayton’s misconduct in Cornell’s case would entitle Cornell to § 2255 relief is not well-taken. As discussed above,
 Cornell does not make a sufficient showing of any misconduct by Clayton. Thus, the combined effect of misconduct by
 the two agents would be no greater than any possible misconduct by Agent Lucas alone, which the Court deems
 insufficient to undermine confidence in the trial’s outcome.

                                                        -17-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 18 of 21. PageID #: 1431


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 provides that “[a] judge may, for good cause, authorize a party to conduct discovery.” (Emphasis

 added.) The Sixth Circuit has construed “for good cause” to mean if the petitioner “presents specific

 allegations showing reason to believe that the facts, if fully developed, may lead the district court

 to believe that federal habeas relief is appropriate.” Lott v. Coyle, 261 F.3d 594, 602 (6th Cir. 2001)

 (construing the analogous rule for § 2254 proceedings); Lynott v. Story, 929 F.2d 228, 232 (6th Cir.

 1991). In fact, “[i]n [such] circumstances, it is the duty of the Court to provide the necessary

 facilities and procedures for an adequate inquiry.” Byrd v. Collins, 209 F.3d 486, 550 (6th Cir. 2000)

 (quoting Harris v. Nelson, 394 U.S. 286, 300 (1969)).

          Cornell seeks additional discovery concerning the allegedly inconsistent and potentially

 contradictory statements by Agent Clayton and witness Darrell Pinson.7/ In his motion, Cornell

 requests a broad array of material related to Agent Clayton, including all of Clayton’s notes and

 reports from the investigation and any complaints against or investigations into Agent Clayton, along

 with his employment file. [Doc. 292.] Further, Cornell requests all grand jury testimony from his

 case. [Id.]

          The Government avers that in advance of the trial, the prosecution provided Cornell’s

 defense counsel all materials relevant to his case to which he was entitled. [Doc. 296 at 2.] The

 Government further contends that Cornell makes only conclusory statements with regard to the

 materiality of the requested documents, and thereby fails to make the necessary prima facie showing.

 [Id. (citing United States v. Philip, 948 F.2d 241, 250 (6th Cir. 1991)).] Specifically, the

 Government refers to Rule 16 of the Federal Rules of Criminal Procedure which “does not authorize



          7/
            As discussed in the previous section, Cornell’s request for discovery related to Agent Lucas and the proposed
 additional claim is dismissed as moot because the Court denies the motion to supplement.

                                                          -18-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 19 of 21. PageID #: 1432


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 the discovery or inspection of reports, memoranda, or other internal government documents made

 by an attorney for the government or other government agent in connection with investigating or

 prosecuting the case” except as required under the Jencks Act. [Doc. 296 at 3 (quoting FED . R.

 CRIM . P. 16(a)(2)).] Nor must the Government turn over all transcripts of grand jury testimony,

 according to Rule 16(a)(3). [Doc. 296 at 3.] As to Agent Clayton’s personnel files, the Government

 argues that Cornell’s mere speculation that the files contain information material to his case is

 insufficient to require discovery of the files. [Id. at 8.]

         The Federal Rules of Criminal Procedure do not require the Government to disclose the

 information Cornell seeks in the instant motion. Moreover, before the trial, the Government had

 already provided Cornell with Agent Clayton’s Investigation Report and grand jury testimony. With

 respect to the Rule 6 requirement that a petitioner show “good cause” for discovery on a habeas

 petition, Cornell’s reliance on Bracy v. Gramley, 520 U.S. 899 (1997), is misplaced. In that case,

 the petitioner had supported his discovery request not only with evidence of a judge’s corruption in

 other similar cases, but also evidence that the judge “was actually biased in petitioner’s own case.”

 Id. at 909. In determining that the district court in that case had abused its discretion by not

 permitting Rule 6 discovery, the Supreme Court emphasized the need for the petitioner to present

 specific allegations, rather than merely conclusory statements. Id. Here, for the reasons previously

 discussed with respect to any potential inconsistencies between Clayton’s report, his testimony, and

 Pinson’s testimony, Cornell fails to provide sufficient evidence of Clayton’s false statements or

 corruption in Cornell’s case. In its discretion, then, the Court denies the motion for additional

 discovery.

 F. Recusal

                                                    -19-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 20 of 21. PageID #: 1433


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

        The Sixth Circuit recently confirmed that “[t]he disqualification of Government counsel is

 a drastic measure . . . .” Cope v. United States, 272 Fed. App’x 445, 449 (6th Cir. 2008) (citing

 United States v. Bolden, 353 F.3d 870, 875-76 (10th Cir. 2003)).              Courts should impose

 disqualification only when necessary, and therefore courts have allowed the remedy in only limited

 circumstances. Bolden, 353 F.3d at 878. Before disqualifying attorneys from the United States

 Attorney’s office, a “district court must make attorney-specific factual findings and legal

 conclusions.” Id. at 880. Further, the Sixth Circuit has held that “[a] scenario in which the court can

 disqualify an entire United States Attorney’s office will rarely, if ever, present itself.” Cope, 272

 Fed. App’x at 449.

         In his motion for recusal, Cornell argues that AUSA Joseph Pinjuh knowingly proffered

 false testimony by Agent Clayton because Pinjuh knew of Clayton’s preexisting Investigation Report

 and yet “allowed” Clayton to testify to different facts before the grand jury and at trial. The

 operative facts that were allegedly contradictory in the Clayton’s two different versions were whether

 he saw Defendant Cornell at Pinson’s residence where the drug transaction occurred and whether

 Clayton immediately took possession of the cocaine after the transaction. [Doc. 293 at 2-3.] In order

 to prevail on this claim, Cornell must show that Clayton’s testimony was false, was material, and that

 AUSA Pinjuh knew it was false. Coe v. Bell, 161 F.3d 320, 343 (6th Cir. 1998). Cornell fails.

        As discussed above, these differences in Agent Clayton’s Investigation Report and his

 testimony were not necessarily contradictory. They could have been merely unclear or inconsistent.

 “[M]ere inconsistencies in testimony by government witnesses do not establish knowing use of false

 testimony.” Id. (quoting United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir. 1989)). Cornell

 has not shown that Clayton’s testimony was actually false; even though Pinson testified to the

                                                  -20-
Case: 1:03-cr-00431-JG Doc #: 341 Filed: 06/30/09 21 of 21. PageID #: 1434


 Case No. 1:03-CR-431-2; 1:07-CV-871
 Gwin, J.

 contrary, it was up to the jury to decide whom to believe. More importantly, as the Magistrate Judge

 noted, there is no evidence that the Government attempted to conceal any of Agent Clayton’s earlier

 statements - defense counsel had them when Clayton gave his testimony. This absence of

 concealment weighs against the conclusion that the government knowingly used false testimony.

 Lochmondy, 890 F.2d at 822-23. Accordingly, the Court cannot make any attorney-specific factual

 or legal findings concerning AUSA Pinjuh sufficient to support the motion to disqualify the attorney

 as being “necessary.” Nor does the Court find this to be remotely close to the extremely rare instance

 justifying the disqualification of an entire USA’s office.

                                            V. Conclusion

        For these reasons, the Court ADOPTS the Magistrate’s Report and Recommendation, and

 DENIES Defendant Cornell’s § 2255 motion. [Doc. 283.] In addition, the Court DENIES Cornell’s

 motion to supplement the § 2255 motion, [Doc. 289], and DENIES his motion for the recusal of the

 AUSA, [Doc. 293]. Finally, the Court DISMISSES IN PART as moot and DENIES IN PART the

 Defendant’s motion to compel discovery. [Doc. 292.] Because the record in the case establishes that

 Cornell is entitled to no relief, the Court denies his request for an evidentiary hearing. Further, the

 Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this decision could not be

 taken in good faith, and no basis exists upon which to issue a certificate of appealability. 28 U.S.C.

 § 2253(c); Fed. R. App. P. 22(b).

        IT IS SO ORDERED.



 Dated: June 30, 2009                                    s/       James S. Gwin
                                                         JAMES S. GWIN
                                                         UNITED STATES DISTRICT JUDGE

                                                  -21-
